Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 1 of 20 Pageid#: 1
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 2 of 20 Pageid#: 2
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 3 of 20 Pageid#: 3
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 4 of 20 Pageid#: 4
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 5 of 20 Pageid#: 5
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 6 of 20 Pageid#: 6
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 7 of 20 Pageid#: 7
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 8 of 20 Pageid#: 8
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 9 of 20 Pageid#: 9
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 10 of 20 Pageid#: 10
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 11 of 20 Pageid#: 11
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 12 of 20 Pageid#: 12
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 13 of 20 Pageid#: 13
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 14 of 20 Pageid#: 14
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 15 of 20 Pageid#: 15
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 16 of 20 Pageid#: 16
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 17 of 20 Pageid#: 17
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 18 of 20 Pageid#: 18
Case 7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 19 of 20 Pageid#: 1
7:20-cv-00609-MFU-JCH Document 1 Filed 10/13/20 Page 20 of 20 Pageid
